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      ______________________________________________________________________

                    IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF IDAHO


BEAR CREST LIMITED LLC, an Idaho        )
limited liability company;              )             COMPLAINT
YELLOWSTONE BEAR WORLD INC., an         )           AND JURY DEMAND
Idaho corporation; VELVET RANCH LLC,    )
an Idaho limited liability company;     )      Civil No. ______________
MICHAEL D. FERGUSON, an Idaho           )
resident,                               )      Judge: ________________
                                        )
Plaintiffs,                             )
                                        )
vs.

STATE OF IDAHO; IDAHO
TRANSPORTATION DEPARTMENT, a
department within the State of Idaho;
MADISON COUNTY, a political
subdivision of the State of Idaho,

Defendants.
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         Plaintiffs Bear Crest Limited LLC, Yellowstone Bear World Inc., Velvet Ranch LLC,

and Michael D. Ferguson (collectively, “Bear Crest”) complain against Defendants State of

Idaho, Idaho Transportation Department, and Madison County, Idaho (collectively,

“Defendants”), as follows:

                               PARTIES, JURISDICTION AND VENUE

         1.      Plaintiff Bear Crest Limited LLC is an Idaho limited liability company with its

domicile in Madison County, Idaho.

         2.      Plaintiff Yellowstone Bear World Inc. is an Idaho corporation with its domicile in

Madison County, Idaho.

         3.      Plaintiff Velvet Ranch LLC is an Idaho limited liability company with its

domicile in Madison County, Idaho.

         4.      Plaintiff Michael D. Ferguson is an individual and a resident of Madison County,

Idaho.

         5.      Defendant State of Idaho is a state of the United States of America.

         6.      Defendant Idaho Transportation Department is a department created pursuant to

the laws of the State of Idaho.

         7.      Defendant Madison County, is a political subdivision of the State of Idaho.

         8.      This Court has jurisdiction over this matter pursuant to 42 U.S.C. §1983, 28

U.S.C. § 1331, and 28 U.S.C. § 1343.

         9.      The Court has supplemental jurisdiction of the state law claims pursuant to 28

U.S.C. § 1367.




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       10.     Venue is proper in this Court pursuant to 28 USC § 1391(b).

                                  GENERAL ALLEGATIONS

       11.     Bear Crest owns certain real property located in Madison County, Idaho at the

intersection of U.S. Highway 20 and Madison County Road 4300 West (the “Property”).

       12.     Bear Crest operates a tourist and entertainment attraction on a portion of the

Property known as Yellowstone Bear World.

       13.     Until recently, visitors to Yellowstone Bear World could conveniently and easily

access the Property from U.S. Highway 20 via a connection (the “Intersection”) at Madison

County Road 4300 West (“Bear World Road”).

       14.     The financial success of Yellowstone Bear World depended and depends on the

continued existence of the Intersection.

       15.     The Intersection was constructed upon land formerly owned by Ross A. Gideon

and Lila Mae Gideon, husband and wife (the “Gideons”).

       16.     In November 1973, the Gideons deeded that land to the State of Idaho, by and

through the Idaho Board of Highway Directors, for $1.00 by warranty deed (“Gideon Deed”).

Attached Exhibit A.

       17.     The Gideon Deed was part of a realignment that moved the point of the

Intersection north on Highway 20.

       18.     The      Gideon      Deed     expressly      reserved     to     the     grantors:

“Access to the County Road Connection.”

       19.     The reservation of rights in the Gideon Deed created an easement or contract right

in favor of the Property owner.




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       20.     Bear Crest is the successor in interest to the Gideons with respect to the Property

and all access rights and easements related thereto.

       21.     In 2016, Defendants converted U.S. Highway 20 into a controlled access road

and, in doing so, closed the Intersection, and thereby terminated access to the county road

connection from Bear World Road.

       22.     Access to Bear Crest’s Yellowstone Bear World attraction and the Property from

U.S. Highway 20 as set forth in the Gideon Deed has been taken, and otherwise substantially

impaired.

       23.     As a direct result of the Defendants’ actions, including closing of the Intersection

and the substantial impairment of and unreasonable access to the Property, Bear Crest has

suffered damages, including without limitation significant losses to its business and to the fair

market value of its Property.

       24.     Bear Crest has been damaged in an amount to be proven at trial.

       25.     Bear Crest filed Notices of Tort Claim with the Defendants regarding the subject

dispute on February 15, 2017.

                                FIRST CLAIM FOR RELIEF
                     (Taking; Inverse Condemnation; Regulatory Taking)

       26.     Bear Crest incorporates by reference the allegations contained in the paragraphs

above as though set forth fully herein.

       27.     Bear Crest owns an easement or contractual right to access to and from U.S.

Highway 20 through the Intersection.

       28.     Bear Crest also has a right to maintain its historical access to its Property to and

from U.S. Highway 20 without substantial impairment by Defendants.



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        29.     Defendants’ actions in closing the Intersection constituted a taking of Bear Crest’s

access easement or contract right to U.S. Highway 20 through the Intersection and a taking due

to Defendants’ substantial impairment of Bear Crest’s access rights without providing reasonable

remaining access.

        30.     Defendants’ actions have destroyed a fundamental property right of Bear Crest,

imposes substantial and significant impact and limitation on the use of the Property, and

interfered with Bear Crest’s reasonable investment-backed development expectations for the

Property.

        31.     Defendants’ actions constitute a taking under Article I Section 14 of the Idaho

Constitution and the Fifth Amendment to the United States Constitution.

        32.     Bear Crest has suffered damages as a result of Defendants’ actions, including

without limitation, the fair market value of the easement or contract right to access to U.S.

Highway 20 taken, losses to its business, loss of value in the Property, and severance damages.

        33.     Bear Crest is entitled to receive just compensation for the taking in an amount to

be proven at trial.

                            SECOND CLAIM FOR RELIEF
 (Substantive Due Process: 42 U.S.C. §1983 and art. I, section 13 of the Idaho Constitution)

        34.     Bear Crest incorporates by reference the allegations contained in the paragraphs

above as though set forth fully herein.

        35.     Bear Crest has a protectable property interest in the reasonable economic use of

its Property and reasonable, substantially unimpaired access to its Property.




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       36.      Defendants had no rational basis for closing the Intersection without regard for

Bear Crest’s right of access, and thereby substantially impairing Bear Crest’s access from its

Property.

       37.      As a result of Defendants’ actions, Bear Crest has suffered damages, including

without limitation, the loss of its easement or contract right to access to U.S. Highway 20, losses

to its business, and loss of value in the Property.

       38.      A set of conditions exist under law, the fulfillment of which gave rise to a

legitimate expectation by Bear Crest that Defendants would maintain the Intersection and not

substantially impair access to the Property.

       39.      Bear Crest took substantial actions in reliance and to its detriment on its

legitimate expectations.

       40.      Defendants’ actions were arbitrary and capricious, inconsistent with its own

contractual and other legal obligations, and had no conceivable rational relationship to

Defendants’ legitimate interests.

       41.      Defendants’ violation of Bear Crest’s constitutional rights under the U.S.

Constitution as set forth above has caused Bear Crest damages to which Bear Crest is entitled

pursuant to 42 U.S.C. § 1983 and its attorney’s fees incurred pursuant to 42 U.S.C. § 1988.

       42.      Defendants’ actions also constitute a violation of Bear Crest’s substantive due

process rights under Art. I, section 13 of the Idaho Constitution.

       43.      Bear Crest has been damaged in an amount to be proven at trial.

                               THIRD CLAIM FOR RELIEF
             (Procedural Due Process: 42 U.S.C. § 1983 and the Idaho Constitution)




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       44.     Bear Crest incorporates by reference the allegations contained in the paragraphs

above as though set forth fully herein.

       45.     Bear Crest had a protectable property interest in continued access to its Property

via the Intersection.

       46.     Defendants did not have discretion to close the Intersection or to substantially

impair reasonable access to the Property.

       47.     A set of conditions exist under law, the fulfillment of which gave rise to a

legitimate expectation by Bear Crest that Defendants would maintain the Intersection and not

substantially impair access to the Property.

       48.     Bear Crest took substantial actions in reliance and to its detriment on its

legitimate expectations.

       49.     Defendants, by their actions and under color of state law, have deprived Bear

Crest of its federal constitutional rights to procedural due process of the law.

       50.     Defendants, by their actions, have deprived Bear Crest of property rights without

engaging fair procedures to reach a decision.

       51.     Defendants violated Bear Crest’s rights to procedural due process by closing the

Intersection and by substantially impairing access to the Property due to actions that were within

the power and control of Defendants.

       52.     By so acting, Defendants have deprived Bear Crest of valuable property interests

without any meaningful process, notice or opportunity to be heard, thus violating Bear Crest’s

rights to procedural due process of law.




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       53.     Defendants’ violation of Bear Crest’s constitutional rights under the U.S.

Constitution as set forth above has caused Bear Crest damages to which Bear Crest is entitled

pursuant to 42 U.S.C. § 1983 and its attorney’s fees incurred pursuant to 42 U.S.C. § 1988.

       54.     Defendants’ actions also constitute a violation of Bear Crest’s procedural due

process rights under Art. I, section 13 of the Idaho Constitution.

       55.     As a result of Defendants’ violation of Bear Crest’s procedural due process rights,

Bear Crest has been damaged in an amount to be proven at trial.

                                FOURTH CLAIM FOR RELIEF
                                    (Breach of Contract)

       56.     Bear Crest incorporates by reference the allegations contained in the paragraphs

above as though set forth fully herein.

       57.     The Gideon Deed constitutes a binding, enforceable contract pursuant to which

Defendants agreed to the continuing right to access the Property and for the Property to access

U.S. Highway 20 through the Intersection.

       58.     Bear Crest, through its predecessors in interest, performed all of its contractual

obligations under the Gideon Deed.

       59.     Defendants breached their contractual obligations by closing the Intersection and

depriving Bear Crest of its right of access.

       60.     Bear Crest has suffered damages as a result of Defendants’ material breach of

their contractual obligations under the Gideon Deed.

                                          JURY DEMAND




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          Pursuant to the Constitution of the United States and the State of Idaho and pursuant to

Federal Rule of Civil Procedure 38, Bear Crest demands that all issues of fact, triable by and

reserved to a jury be tried by a jury.

                                     PRAYER FOR RELIEF

          WHEREFORE, Bear Crest requests the following relief:

          1.     A Judgment that Defendants have effected a taking under the Idaho and United

States Constitutions and for an award of damages to Bear Crest in an amount to be proven at

trial;

          2.     A Judgment that Defendants’ actions constitute a violation of Bear Crest’s

procedural and substantive due process rights and for an award of damages to Bear Crest in an

amount to be proven at trial;

          3.     A Judgment against Defendants and in favor of Bear Crest for attorneys’ fees and

costs pursuant to 42 U.S.C. § 1983 and §1988; and

          4.     A Judgment granting such other and further relief as the Court deems just and

proper.

          DATED this 24th day of October, 2018.

                                                  HOLDEN KIDWELL HAHN & CRAPO


                                                  /s/
                                                  Karl R. Decker


                                                  FABIAN VANCOTT
                                                  Scott M. Lilja
                                                  Nicole M. Deforge

                                                  Attorneys for Plaintiffs



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                                                   EXHIBIT A
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                                                   EXHIBIT A
